













Opinion issued August 9, 2004







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00821-CV
____________

IN RE HAKE, Relator




Original Proceeding on Petition for Writ of Habeas Corpus




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny relator’s petition for habeas corpus relief as noncompliant with Texas
Rules of Appellate Procedure 52.1, 52.3(a)-(h),(j); 52.7(a),(c).
PER CURIAM
Panel consists of Justices Keyes, Higley, and Bland.


